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 THOMAS A. BRILL - 125356
 Attorneys for Plaintiffs


                                 UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF CALIFORNIA

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                                                       CASE NO.: CIV-F-02-6385AWI (LJO)
     MARIA TORRES and MELCHOR
     TORRES, individually and as Administrators
     of the Estate of EVERARDO TORRES,                 ORDER ON STIPULATION FOR
                                                       CONTINUANCE OF BRIEFING
                                                       SCHEDULE AND HEARING DATE FOR
                   Plaintiffs,                         SUMMARY JUDGMENT
     vs.

     CITY OF MADERA, MARY NORIEGA,
     indivdually and as a member of the Madera
     Police Department; and DOES 1 through 50,
                   Defendants.

       The parties having stipulated thereto, and the court having read the accompanying

Declaration of Thomas A. Brill in Support Thereof, and good cause appearing, it is hereby

ordered that the Opposition to the Summary Judgment presently scheduled to be due on February

20, 2009, shall be due on March 20, 2009, the Reply brief previously due on March 13, 2009 will

be due on April 10, 2009 and the hearing on the Motion for Summary Judgment will take place

on May 11, 2009.



       IT IS SO ORDERED.

       Dated:    February 20, 2009                /s/ Anthony W. Ishii
       0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
